     Case
      Case2:11-cr-00048-JCM-CWH
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 3
                        UNITED STATES DISTRICT COURT
                             DISTRICT OF NEVADA
 4                                  -oOo-
 5
      UNITED STATES OF AMERICA,                        2:11-CR-0048-JCM-CWH
 6
                             Plaintiff,                                  ORDER
 7                                                     GRANTING UNOPPOSED
                  vs.                                  GOVERNMENT’S MOTION FOR COPY
 8                                                     OF AUDIO RECORDING OF COURT
      NANCY MAGENO,                                    TRIAL PROCEEDINGS ON MAY 23, 2012
 9
                            Defendant.
10

11           The Court having read the Government’s motion and understanding that defense counsel

12    does not oppose the motion finds good cause for allowing the Government to obtain a copy of the

13    audio recording of the Court Trial Proceedings of May 23, 2012.

14           It is hereby ORDERED, that the Government may place an order for a CD of the audio

15    recording of the Court Trial Proceedings on May 23, 2012, in United Sates v. Nancy Mageno, 2:11-

16    CR-0048-JCM-CWH, with the Clerk of the Court and that the Clerk of the Court may provide a

17    copy of the audio recording of the Court Trial Proceedings to the Government.

18                 August
             DATED this ____15,
                             day2014.
                                 of August, 2014.

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20                                                              JAMES C. MAHAN
                                                                United States District Judge
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